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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:06CR169
                              )
          v.                  )
                              )
CINDI DECKER,                 )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 29).        The Court is advised that defendant

wishes to enter a plea in this matter.          Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Thursday, September 14, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        Defendant has requested the

continuance in order to finalize the plea agreement.                The ends of

justice will be served by continuing this case and outweigh the

interests of the public and the defendant in a speedy trial.                  The

additional time between September 1, 2006, and September 14,

2006, shall be deemed excludable time in any computation of time

under the requirement of the Speedy Trial Act.                18 U.S.C.

§ 3161(h)(8)(A) & (B).

           DATED this 30th day of August, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
